               IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                            1:18 CR 88-1

UNITED STATES OF AMERICA                          )
                                                  )                    ORDER
v.                                                )
                                                  )
WANDA SKILLINGTON GREENE                          )
____________________________________              )

       This matter is before the Court on Defendant’s Motion to Seal (Doc. 56).

       The Motion appears on the docket as a sealed document. This district’s

local rules, however, do not contemplate that a motion to seal should itself be

filed under seal. Rather, a request to file materials under seal should be made

by way of an unsealed motion that is separate from the motion or other

pleading sought to be sealed and should include the information described by

the local rules. See LCrR 49.1.1; LCvR 6.1.1 Authority from the Fourth Circuit

similarly requires that public notice of a request to seal be provided so that

interested parties may have a reasonable opportunity to object. See Ashcraft

v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000).

       IT IS THEREFORE ORDERED THAT:

          1. Defendant’s Motion to Seal (Doc. 56) is DENIED WITHOUT

              PREJUDICE.




1 When the disclosure of confidential information is required in order to support a motion to
seal, a party may provide such information in a separate memorandum that is filed under
seal. LCvR 6.1(c).
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   2. Within seven (7) days of the entry of this Order, Defendant may:

         a. File a renewed motion to seal that complies with Local

            Criminal Rule 49.1.1 (which incorporates Local Civil Rule

            6.1); or,

         b. Withdraw the Motion to Continue Sentencing (Doc. 57).

   3. Absent such a filing, the Motion to Continue Sentencing (Doc. 57)

      shall be UNSEALED upon the expiration of the seven (7) day

      period.


                        Signed: July 19, 2019




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